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          EXHIBIT 43
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  In N.Y.C. Jail System, Guards Often Lie About
  Excessive Force (Published 2021)

  More than half of the roughly 270 correction officers disciplined over
  a 20-month period lied to investigators or filed incomplete or
  inaccurate reports.

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  The city jail system, including the notorious Rikers Island complex, has long been
  a source of complaints of brutality by guards. Credit... Richard Perry/The New
  York Times


  Published April 24, 2021
  Updated Sept. 22, 2021
  One New York City Correction officer struck a jailed person in the face
  for no legitimate reason. Another put a detainee in a banned
  chokehold several times. A third failed to stop subordinates from
  using unnecessary force, according to newly released discipline
  records.
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  But what was equally notable was what happened after the
  encounters: In each case, the guards lied or provided inaccurate
  information about what had occurred.

  In fact, more than half of the officers in New York City’s jail system
  who were disciplined over a 20-month period gave false, misleading
  or incomplete accounts on official forms or in statements to
  investigators, according to a New York Times analysis of records
  recently made public after a long court battle.

  The data suggests pervasive attempts by guards to cover up uses of
  force or other infractions at a time when the city has tried to rein in
  violence in the jails.

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  Councilman Keith Powers, a Manhattan Democrat who heads the
  criminal justice committee, said the data “highlights how broken this
  process is and a need to make real efforts to reform it.”

  “It’s a turning point to providing more visibility to an often invisible
  criminal justice system,” he said.

  The city jail system, including the notorious Rikers Island complex,
  has long been a source of complaints of brutality by guards. Six years
  ago, when the city entered a landmark legal settlement with federal
  prosecutors, a key part of the plan was to hold officers accountable
  for misconduct in a timely way, including a more transparent
  accounting of episodes involving force.

  “The entire system of use-of-force reporting depends upon officers
  giving accurate facts and telling the truth about what happened,” said
  Mary Lynne Werlwas, director of the Legal Aid Society’s Prisoners’
  Rights Project. Unless there is video evidence, Ms. Werlwas added,
  “the officer’s word gets credited when it is an incarcerated person’s
  word against an officer’s.”

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  Until now, the disciplinary records of correction officers and their
  supervisors had been largely kept secret by state law.




  Protesters gathered at City Hall in 2019, as the City Council voted on a plan to
  close Rikers Island. Credit... Joshua Bright for The New York Times


  That changed last summer when, in response to pressure from
  protests against police violence and racism after the killing of George
  Floyd, New York legislators repealed 50-a, the section of the state civil
  rights statute that shielded most law enforcement misconduct
  records from the public.


  The Crisis at Rikers Island

  Amid the pandemic and a staffing emergency, New York
  City’s main jail complex has been embroiled in a continuing
  crisis.

     2022 Deaths: Sixteen people died in the city’s jail system last year,
     the most since 2013. Deaths this year are on pace to be even
     higher.
     Gaming the Numbers: Louis Molina, New York City’s jail
     commissioner, pushed for a dying man’s release from Rikers in an
     apparent bid to limit the prison’s death count.
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     Inside Rikers: Videos obtained by The Times reveal scenes of
     violence and offer vivid glimpses of the lawlessness that has taken
     hold.
     Decades of Dysfunction: For years, city officials have presided over
     shortcuts and blunders that have led to chaos at the jail complex.

  The unions representing police and correction officers and their
  supervisors quickly filed a lawsuit in federal court to stop the release
  of the disciplinary records, but a federal judge and an appeals panel
  eventually rejected their arguments, including the contention that
  releasing the records could endanger officers. The city released a
  database detailing disciplinary actions against correction officers in
  March.

  Taken together, the revelations contained in the database paint a
  picture of ongoing violence by guards in the troubled city jail system,
  confirming the findings of a federal monitor last fall.

  Lying on official forms or to investigators was a common thread.
  About 56 percent of the more than 270 correction officers who were
  disciplined from January 2019 to August 2020, including a dozen
  supervisors, lied, misled investigators or filed incomplete or
  inaccurate reports, the records show. At least 17 officers made false
  statements in interviews with officials who were looking into
  allegations.

  The data released by the department did not specify how the officers
  were found to have provided false information, but typically
  investigators compare officers’ statements with other evidence, such
  as video footage and medical records documenting injuries.

  One officer, Lawrence Wallace, a 15-year veteran of the department,
  was disciplined eight times in less than two years for using excessive
  force on people held in city jails, including deploying banned restraints
  and pepper spray. In four of those cases, he lied on official reports
  about what had happened, and at least once he made false
  statements to investigators, the records show.
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  Correction officials allowed Mr. Wallace to keep his job but docked
  him 55 vacation days and placed him on probation for two years, a
  decision the department called a “holistic approach.” Reached by
  telephone, Mr. Wallace declined to comment.

  “I don’t know any workplace where five, six, seven violations of major
  abuses would not result in very serious punishment, if not loss of
  employment,” said Donna Lieberman, the executive director of the
  New York Civil Liberties Union.

  Joseph Russo, president of the union representing deputy wardens
  and assistant deputy wardens, acknowledged that jail staff members
  sometimes make misleading statements, but he said he thought
  some were honest mistakes. He argued that officers and supervisors
  simply do not remember certain interactions, or their memories are
  spotty because of the stress surrounding the events.




  Newly released discipline records paint a picture of ongoing violence by guards.
  Credit... Todd Heisler/The New York Times


  “To recall these details in great detail is very difficult,” Mr. Russo said.
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  Benny Boscio Jr., president of the Correction Officers’ Benevolent
  Association, said in a statement that the majority of the 8,130 officers
  in his union did not have “a single disciplinary charge.”

  City correction department officials also said the reporting errors
  were not always intentional. To cut down on lapses, the department
  created a new course for officers to improve their writing skills and to
  teach them how to complete official incident reports, officials said.
  The department has also provided counseling and retraining for
  officers.

  Some gaps in reporting, however, are purposeful cover-ups, correction
  officers said privately, speaking on the condition of anonymity to
  protect their employment. One said he had witnessed colleagues use
  excessive force and omit their actions from official records — for
  instance, twisting a man’s limb after he stopped resisting, or using
  pepper spray for longer than allowed.

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  Another staff member said he had seen officers huddle on Rikers
  Island to decide what statements to make on official forms. He said a
  captain once also asked him to change the time of an incident on a
  report to hide when it took place.

  The data offered the most complete portrait to date of staff discipline
  in the city’s lockups, but the records were still very limited. They
  identified the officers only by last name, with a brief description of the
  offense and the outcome.

  The records did not include unsubstantiated allegations or cases in
  which the accused officer was cleared of wrongdoing. Nor did they
  contain at least five guards who were fired in the past two years.
  Three of those officers had been criminally charged with beating
  incarcerated people and then covering up the assaults, according to
  the Bronx district attorney’s office. Another had been arrested in
  Queens on a drunk-driving charge.
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  The data also did not include officers disciplined for drug smuggling
  or sex crimes. Drug smuggling allegations are generally referred to
  local prosecutors, officials said, and there were no substantiated rape
  allegations during the 20-month period in question.

  Still, the records showed that, in general, most guards who were
  brought up on departmental charges of using excessive force
  escaped serious punishment.

  Nine of the more than 270 guards resigned or retired under pressure,
  the data showed. Twenty-four officers were suspended, and 17
  additional officers were placed on probation, which lasted from one to
  four years. (Some of the suspended officers were also put on
  probation.) Most of the rest lost vacation days.

  Six of the nine officers who resigned or retired had lied or filed
  incomplete reports about an inappropriate use of force, the records
  show. “We do not tolerate false reporting, or excessive or unnecessary
  uses of force under any circumstances,” said Jason Kersten, a
  spokesman for the Department of Correction.

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  Of the 11 officers in the data with at least three disciplinary charges
  for misconduct, only one was suspended. None were dismissed.

  The suspended officer, Captain Quincy Oudkerk, was found, among
  other things, to have kicked an inmate who did not pose a threat and
  then to have lied about the force he used, records showed. He was
  suspended for 28 days. Mr. Oudkerk declined to comment when
  reached by phone.
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  The records showed that most guards who were brought up on departmental
  charges for using excessive force escaped serious punishment. Credit... Richard
  Perry/The New York Times


  While the database provided just bare-bones description of each
  incident, more detailed allegations have emerged in lawsuits filed
  against Mr. Wallace.

  In a 2015 suit, Arthur Ceasar said Mr. Wallace had thrown a pair of
  shoes at him and pummeled him in a cell at the Manhattan Detention
  Center, sending him to the hospital.

  That same year, Mr. Wallace and several other guards were accused
  in a second lawsuit of beating another person in jail, Basheer Bajas,
  so badly that he had internal bleeding in his left eye and severe
  headaches.

  In January 2016, Shymell Ephron said in a third lawsuit that Mr.
  Wallace had punched him repeatedly in the head while he was being
  detained. The city settled with Mr. Ephron for $3,000.

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  The same year, Tobias Anderson, who is also listed in court records
  as Olivia Anderson, said in a fourth lawsuit that Mr. Wallace called
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  him a homophobic slur and purposely dropped him down a flight of
  stairs in a transgender housing unit.

  Asked why Mr. Wallace was still employed by the department despite
  being disciplined eight times in connection with seven encounters, the
  correction department said in a statement that officials had
  considered “the totality of the circumstances.” Penalties are not
  determined by the number of violations a correction officer has
  pending, the department said.

  Mr. Wallace racked up another seven charges while he was waiting for
  the first allegation against him in 2016 to be resolved, the records
  showed. Such delays are not unusual. Roughly 46 percent of the
  cases took two years or more to resolve, the data showed.

  In one extreme case, it took officials just over six years to discipline
  one guard, Carlos Rodriguez, who failed to notify a supervisor about
  using force on an inmate and later falsified a report in March 2014.

  A correction department spokesman, Patrick Rocchio, said the
  department’s disciplinary process was often slowed down because
  outside agencies, like the city Department of Investigation or state
  and federal prosecutors, were also investigating.

  At least three other officers besides Mr. Wallace were disciplined
  multiple times, the city data showed. Patrick Alicea, a 10-year veteran,
  was found to have used excessive force five times over a nine-month
  period and to have twice provided false statements on official forms.
  He was demoted from captain to officer.

  Two other officers, Maximo Matos and Brian Saryian, who have both
  been on the force for eight years, were each disciplined on four
  separate occasions for using improper force, the data showed. Both
  officers also falsified official statements. Mr. Matos forfeited 60 days
  of vacation, Mr. Saryian, 55.

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  Mr. Saryian declined to comment when reached by phone. Mr. Alicea
  did not respond to requests for comment and Mr. Matos could not be
  reached.

  Adam Playford contributed data analysis.

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